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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                                                                                                         July 27, 2023
                             UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk

                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                §
                                                          §
    FREE SPEECH SYSTEMS, LLC,                             §            Case No. 22--60043
                                                          §
                                     DEBTOR.              §            (Subchapter V Debtor)
                                                          §                Chapter 11


      ORDER GRANTING EMERGENCY MOTION TO APPROVE ASSUMPTION OF
          COMMERCIAL REAL PROPERTY LEASE WITH BCC UBC LLC.

             Upon the Debtor’s Emergency Motion to Approve Assumption of Commercial Real

Property Lease with BCC UBC LLC (“Motion”) 1; for authority to assume the Lease Agreement,

as more fully set forth in the Motion; and the Court having jurisdiction to consider the Motion and

the relief requested therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the

requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion

having been provided, and it appearing that no other or further notice need be provided; and the

Court having determined that the legal and factual bases set forth in the Motion establish (i) the

exercise of business judgment by the Debtor, (ii) demonstration of adequate assurance of future

performance under the Lease Agreement; and (iii) just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefore, IT IS HEREBY ORDERED THAT:

             1.    Pursuant to sections 365(a) and 105(a) of the Bankruptcy Code, the Lease

Agreement, as modified and amended, is deemed to be assumed in its entirety.




1
 Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Motion.
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       2.      The Debtor is authorized to take all steps necessary or appropriate to carry out the

relief granted in this Order.

       3.      The Debtor is current on its obligations under the Lease Agreement and no cure is

required pursuant to Section 365(b)(1).

       4.      The Court retains exclusive jurisdiction with respect to all matters arising or related

to the implementation, interpretation, and enforcement of this Order.

        Dated this __ day of July 2023.

            August
            July      02, 2019
                 27, 2023
                                               ___________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




                                                 2
